          Case 1:17-cv-01937-EGS Document 10 Filed 09/17/18 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


  PUBLIC CITIZEN, INC.,

                          Plaintiff,

                  v.                                  Civil Action No. 17-CV-1937 (EGS)

  OFFICE OF MANAGEMENT
  AND BUDGET,


                          Defendant.


                       STATUS REPORT OF PUBLIC CITIZEN, INC.

       Pursuant to the Court’s order of December 11, 2017, plaintiff Public Citizen, Inc. submits

this Status Report. Plaintiff attempted to contact counsel for defendant to obtain his consent to

submit a joint status report, but was unable to reach counsel for defendant.

       On September 22, 2017, plaintiff filed a complaint alleging that defendant had violated the

Freedom of Information Act. On October 25, 2017, defendant filed an answer. On December

4, 2017, the parties filed a joint proposed schedule for disclosure, requiring defendant to produce

500 pages per month. Defendant agreed to produce email records with the names and length of

attachments—not the attachments themselves, which would be produced only as requested by

plaintiff. The parties requested to provide a joint status report no later than May 15, 2018. Pursuant

to the joint proposed schedule, on December 11, 2017, the Court entered an order requiring the

parties to file a joint status report by May 15, 2018. The parties requested to provide another joint

status report no later than September 17, 2018.

       Per the agreed upon joint proposed schedule for disclosure, defendant has produced records

to plaintiff on a monthly basis, and plaintiff has responded by requesting attachments from those
         Case 1:17-cv-01937-EGS Document 10 Filed 09/17/18 Page 2 of 2



productions. In light of the continued rolling productions of records, plaintiff requests that the

parties file another joint status report no later than November 16, 2018.

Dated: September 17, 2018                     Respectfully submitted,


                                                  /s/
                                              SEAN M. SHERMAN
                                              (D.C. Bar No. 1046357)
                                              ADINA H. ROSENBAUM
                                              (D.C. Bar No. 490928)
                                              Public Citizen Litigation Group
                                              1600 20th Street, NW
                                              Washington, DC 20009
                                              (202) 588-7739
                                              ssherman@citizen.org

                                              Attorneys for Plaintiff




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